                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:13-CR-00263-RJC
USA                                                )
                                                   )
   v.                                              )                   ORDER
                                                   )
BRYAN ANTHONY SANDERS                              )
                                                   )

        THIS MATTER is before the Court upon motion of the defendant for release from

custody to attend his father’s funeral on Sunday, March 1, 2015. (Doc. No. 300).

        Title 18, United States Code § 3142(i) permits the temporary release of a defendant, in

the custody of a United States marshal, for a compelling reason. Here, the motion states that

counsel did not seek the government’s position on the defendant’s request. The defendant has

not shown that the U.S. Marshals Service is able to accommodate the defendant’s request to have

him released from the facility where he is detained, transport him to and from the funeral, and

provide security during his temporary release. Additionally, the Court finds that the defendant’s

criminal history shows that he presents a serious risk of danger to the community if released.

(Doc. No. 253: Presentence Report at 14-19).

        IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                               Signed: February 27, 2015




    Case 3:13-cr-00263-RJC-DCK             Document 308          Filed 02/27/15     Page 1 of 1
